                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION


UNITED STATES OF AMERICA,                        )
                                                 )
               Plaintiff,                        )
                                                 )       1:10-cr-61-01 SEB-KPF
       vs.                                       )       1:12-cr-13-01 SEB-KPF
                                                 )
DANIEL A. KRUK,                                  )
                                                 )
               Defendant.                        )


                            The Honorable Sarah Evans Barker, Judge
                                    Entry for July 19, 2012

       On this date, Defendant appeared in person together with his privately retained counsel,

Linda Pence, the Government appeared by AUSAs, Cynthia Ridgeway and Sharon Jackson, together

with the Government’s investigative agents, Michael Fries and Leslie Lahr, for a change of plea and

sentencing hearing. David Schoettmer appeared on behalf of the United States Probation Office.

The hearing was reported by Court Reporter, Laura Howie-Walters.

       !       As a preliminary matter, the Court addressed Defendant’s Motion to Reconsider
               (pending in Cause No. 1:10-cr-61-01 at Docket No. 58 and in Cause No. 1:12-cr-13-
               01 at Docket No. 35) and DENIED the motion for the reasons stated on the record.

       !       Defendant was advised of his rights and the possible penalties.

       !       The Court heard the factual basis for the plea.

       !       Defendant pleaded guilty to Count I of the Information filed in Cause No. 1:12-cr-
               13-01.

       !       The Court accepted Defendant’s guilty plea and Defendant was adjudged guilty of
               the Information filed in Cause No. 1:12-cr-13-01.

       !       The parties were heard with respect to the sentence and application of the Sentencing
               Guidelines.
       !     The Court GRANTED the motions pending in Cause No. 1:12-cr-13-01 at Docket
             Nos. 49 and 50.

       !     Sentence was imposed as stated on the record, including:
                    Special Assessment: $100.00 – immediately payable at the Clerk’s Office
                    Probation: 4 years – During the first 2 years of probation, Defendant shall
                    serve one 8 hour day of community service each month as directed by the
                    USPO. Drug testing shall not be required.
                    Fine: $5,000.00

       !     The Defendant was released to immediately begin his term of probation.

       !     The Government moved to dismiss the Indictment filed in Cause No. 1:10-cr-61-01,
             which motion was GRANTED.

       !     The proceedings were adjourned.




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